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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


   UNITED STATES OF AMERICA,                    :      CASE NO. 1:12-CR-043(1)
                                                :
                      Plaintiff,                :      JUDGE BARRETT
                                                :
       v.                                       :
                                                :      GOVERNMENT’S SENTENCING
                                                :      MEMORANDUM
   TRACY BIAS,                                  :
                                                :
                      Defendant.                :


       The United States by and through counsel, Assistant United States Attorney, Timothy D.

Oakley, respectfully submits that the sentence recommended by the United States Probation

Department (Probation) is adequate and the defendant’s sentence be imposed as recommended.

                          SENTENCING RECOMMENDATIONS

       Probation has recommended a total term of incarceration of 235 months on the count of

conviction. This sentence was calculated by Probation to be a total offense level of 37 in Count

1. This is based on the defendant=s base offense level of 38 based on the amount of medication

involved through the prescriptions and dispensaries (prescriptions are included in the definition

of dispensed). An increase of two levels is recommended for being a leader/organizer under

U.S.S.G. § 3B1.1(c) for a total of 40. There is a reduction for acceptance of responsibility of

three levels so the total offense level is 37. The defendant=s criminal history category was level

II with a corresponding sentencing range of 235 to 293 months. There is a statutory cap of 240

months. The recommended sentence is at the bottom of the guideline range. The United States

submits that the guideline calculation is correct.        The United States agrees with that
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recommendation and requests that this court sentence Tracy Bias to a term of imprisonment of

235 months.

                                  DEFENDANT=S OBJECTION

          Counsel has raised five objections to the Pre-Sentence Report (PSR). The first is to the

inclusion of Trinity Medical Care with regards to sentencing. The objection doesn’t affect the

guideline calculation and can be disregarded.         The evidence, however, does indicate an

ownership interest with Hawthorne despite the protests of the defendant. The evidence showed

that Bias was an active participant in the operation of Trinity, he was often at the location and

demanded to know the number of patients being seen and the profits being obtained. These are

the acts of a person with an ownership interest. His denial of ownership was played out only

after a surreptitious meeting with co-defendant Hillman prior to Bias’s change of plea. It was

learned by defendant’s counsel after Bias changed his plea to guilty that Bias had a secret

meeting with Hillman to discuss the statement of facts that at the time were to be filed under

seal. Defendant’s counsel relayed this information to the United States. The United States is left

to speculate as to the true intent of Bias and Hillman in this meeting but it is clear that the denial

of ownership makes no sense especially when others, including Dr. Lassiter in his sentencing

memorandum, discuss how they received instructions from Bias on the operation of the Trinity

clinic.

          The second objection is to the inclusion of the death of Billy Adams in the PSR. Again,

the death did not serve to increase the sentence of the defendant. It is merely a factor for the

Court to consider if it wants. It does, however, serve to show the effect Bias and his operation

had on the community, through the indiscriminate providing of highly addictive medication

without conducting proper examinations to determine need or adequate treatment. It must be




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noted that Bias entered into the pill business in Portsmouth rather late in the epidemic. At this

time the pill problem in Portsmouth was well known. Other clinics had been searched by police.

Local pharmacies were refusing to fill many of these prescriptions. People were reported as

dying from these drugs. It was through these previous investigations that Bias and his partner

shaped their business model to limit the number of patients being seen at one clinic and instead

open several to keep patient numbers down to a level they thought police would not watch. He

continued the practice of using temporary doctors who had no real training or experience to

handle these clients. He continued the practice of obtaining doctors who through their own

personal frailties had no other place to earn a living. Yet despite the slow start, he was able

through his operation to generate millions of dollars in profits from these addicts.

       The third objection is the inclusion of information about sponsoring patients. Bias did

not admit to the practice. While the United States is prepared to present evidence obtained in its

investigation contra, it does not increase or decrease the guideline range and as such can be

disregarded.

       The fourth and fifth objections are to the claimed sentence disparity between Bias and co-

defendant Journey and requests for a downward departure. The United States would submit that

these are best handled as mitigation factors and not actual objections to guideline calculations.

Both men pled to the same guideline range. Both testified in the Hillman trial. That is where the

comparison stops. It is true that two doctors pled to lesser charges after Bias entered his plea.

His involvement in that process is unknown. It is also true that Bias testified in the Hillman trial.

Bias testified after his secret meeting with Hillman and changed the statement of facts regarding

Trinity Medical Care and the Dahlsten phone call (change of plea excerpt 9-10), two things that

would have shown knowledge of the operation by Hillman. The meeting between these co-




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defendants was known by the United States at the time of trial. Again, this was a meeting

between co-defendants not defendant and counsel. Bias had counsel at the time he and Hillman

met in secret to discuss the sealed plea and facts. At trial again Bias denied any relationship with

Trinity despite obvious evidence to the contrary.

       In the plea agreement, the United States retained the right to be the sole determiner as to

whether the defendant provided complete cooperation. The United States does not agree with

defense counsel’s characterization of Bias’s actions.

                       STATEMENT OF FACTS FOR SENTENCING

       Title 18 U.S.C. ' 3553(a) provides the Court with the factors that must be considered.

First the Court must look at the nature and circumstances of the offense and the nature and

circumstances of the defendant. Here the defendant was involved in a multi-million dollar opiate

distribution operation despite seeing what the epidemic had done to the community. These pain

clinics fed off the addictions of its patients to generate millions of dollars in revenue for both he

and other owners. Bias recruited failed doctors to act as conduits to profit from the devastation

being wreaked on to the area by his operation.          When local pharmacies refused to honor

prescriptions written by his rent-a-doctors, he opened unlicensed dispensaries with the doctor du

jour. He loaned money to Mark Fantauzzi to open a dispensary and then went into business in a

huge way with Hillman and others. Bias was able to provide over $220,000.00 in cash with only

an unsigned promissory note for a portion of the funds to secure his end of the business. Bias

met with the building owner to look at the property. That shows the extent that the defendant

was willing to keep this income stream alive. He showed no remorse in his testimony in the trial

of Steven Hillman and appeared to question his own admitted guilt. He is merely a person




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without contrition and a person who needs to serve a substantial incarceration for the protection

of society.

       Next, the Court must consider the need for the sentence imposed: (a) to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

crime; (b) to afford adequate deterrence to criminal conduct; (c) to protect the public from

further crimes of the defendant; and (d) to provide the defendant with needed or vocational

training, medical care, or other correctional treatment in the most effective manner. Here the

defendant again should be sentenced to the recommended range. This was a serious offense with

dangerous repercussions. It is part of a huge operation providing a large amount of opiates and

benzodiazepines into the community. The drug creates multiple classes of victims; being those

who are addicted, those who suffered from the theft and violence associated with the obtaining of

that drug and the ones left to mourn for the dead. Bias was a huge part of a greater pill tsunami

into the Southern Ohio area. The Bias/Journey clinics were just yet another pill operation being

run by felons and failed doctors in Southern Ohio. A sentence in the recommended range will

reflect all of the factors in this subsection. Moreover, the sentence recommended would reflect

that these types of crimes committed by these types of criminals will be punished and the safety

of the community considered. The guidelines clearly are reasonable with regards to this factor.

       Further, the next factor is the kind of sentences available. In this case, incarceration is an

option. For the purposes of these cases, it is also the best and only reasonable option.

       Finally, the Court is to consider the kinds of sentences and the sentencing ranges

available for the applicable category of offense committed by the applicable category of the

defendant as set forth in the guidelines. Here the sentence has been reviewed and a reasonable

sentence recommended.




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                                        CONCLUSION

       The recommendations by probation are correct applications of the law with the possible

determination of the criminal history. The defendant should receive then a sentence that reflects

that sentencing range.

                                                    Respectfully submitted,

                                                    CARTER M. STEWART
                                                    United States Attorney


                                                    s/Timothy D. Oakley
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                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was served this 16th day of May, 2014,

electronically on John T. Keller and Peter C. Link, Attorneys for defendant, Tracy Bias.


                                                    s/Timothy D. Oakley
                                                    TIMOTHY D. OAKLEY (0039965)
                                                    Assistant United States Attorney




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